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 1
 2                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 3                                         AT SEATTLE
 4
 5    SCOTT FRANCIS ICEBERG,                             Case No. C21-494RSM

 6                  Plaintiff,                           ORDER GRANTING MOTION FOR
 7                                                       EXTENSION OF TIME
                       v.
 8
      UNIVERSITY OF WASHINGTON,
 9
10                 Defendant.

11          This matter comes before the Court on Plaintiff’s Motion for Extension of Time. Dkt.
12   #10. Pro se Plaintiff Scott Francis Iceberg requests “an additional month to file a Motion for
13
     Reconsideration, along with declarations from Plaintiff’s medical professionals.” Id. at 2.
14
     Under this Court’s Local Rules, a motion for reconsideration is to be filed no later than
15
16   fourteen days after the order to which it relates was filed. LCR 7(h)(2).

17          Having reviewed the relevant briefing and the remainder of the record, the Court hereby
18
     finds good cause to allow the additional time and ORDERS that Plaintiff’s Motion, Dkt. #10, is
19
     GRANTED. Plaintiff is granted a one-month extension of the original deadline. The new
20
     deadline for a motion for reconsideration is June 7, 2021. Plaintiff must otherwise follow the
21
22   requirements of Local Civil Rule 7(h).

23          DATED this 28th day of April, 2021.
24
25
26
                                                  A
                                                  RICARDO S. MARTINEZ
27                                                CHIEF UNITED STATES DISTRICT JUDGE

28



     ORDER GRANTING MOTION FOR EXTENSION OF TIME - 1
